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case Nmnber;14.003660-c1

Filing # 13585029 Electronical]y Filed 05/13/2014 11105:45 AM

IN THE CIRCUIT COURT FOR PlNELLAS COUNTY, FLORIDA

Janet Farnham, on behalf of
herself and similarly situated,

Plaintiffs
Case No:
vs. COLLECTIVE ACTION
Allied StaH` Augmentation Partners, Inc.,
Duke Energy Florida, Inc., Richard Barns,
Lynn Good, and Jennifer Weber,

Defendants.
/

COMPLAINT AND DEMAND FOR JURY TRlAL

Plaintiff Janet Farnham, on behalf of herself and similarly situated employees, sues
Defendants Allied Staff Augrnentation Partners, Inc., Duke Energy Florida, Inc., Richard Bams,
Lynn Good, and Jennifer Weber (collectively, , “Employer”) and states as follows:

INM

1. This is a collective action brought pursuant to the Fair Labor Standards Act of
1938, as amended, 29 U.S.C. section 201, el. seq. (“FLSA”) to recover unpaid wages and/or
overtime, liquidated damages, and attomeys’ fees and costs owed to Plaintiff and similarly
situated employees.

2. During the three (3) years prior to the filing of this action (“Liability Period”),
Employer had a policy and practice of requiring Plaintiff and similarly situated employees to
work in excess of forty (40) hours each workweek without paying them wages and/or overtime
compensation as required by the FLSA.

3. Pursuant to the FLSA Plaintiff seeks unpaid wages, overtime compensation,

liquidated damages, and attorneys’ fees and costs from Employer on behalf of herself and

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similarly situated employees

4. Subsequent to the filing of this action, Plaint:iff will request the Court to authorize
notice to all similarly situated employees Who are or were employed by Employer during the
Liability Period, informing them of the pendency of this action and their right to opt into this
lawsuit pursuant to the FLSA.

JURISDICTION VENUE AND PARTIES

 

5. This Court has subject matter jurisdiction over this action, pursuant to Chapter 26,
Florida Statutes, as Plaintiff seeks to recover damages in excess of $15,000.00, exclusive of
attomeys’ fees, costs, and interest

6. Venue is proper under Chapter 47, Florida Statutes, because (l) Plaintift’s claim
arose in and Employer breached its duties to Plaintiff in Pinellas County, Florida and/or (2)
Defendant Duke Energy Florida, Inc. has, or usually keeps, an office for transaction of its
customary business or has an agent or other representative in Pinellas County, Florida.`

7. During the Liability Period, Employer was an enterprise engaged in commerce as
defined by the FLSA in that they (a) had employees engaged in commerce or had employees
handling, selling, or otherwise working on goods or materials that have been moved in or
produced for commerce, and (b) had an annual gross volume of sales made or business done that
is not less than $500,000.00 (exclusive of excise taxes at the retail level that are separately
stated).

8. During the Liability Period, Plaintiff and similarly situated employees were
directly and regularly engaged in interstate commerce.

v 9. During the Liability Period, Defendant Allied Staff Augmentation Partners, Inc.

was an “employer” subject to the requirements of the FLSA.

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10. During the Liability Period, Plaintiff and similarly situated employees were
employees of Defendant Allied Staff Augmentation Partners, Inc. within the meaning of FLSA.

ll. During the Liability Period, Defendant Allied Staff Augmentation Partners, Inc.
was an employer of Plaintiff and similarly situated employees within the meaning of the FLSA.

12. During the Liability Period, Defendant Duke Energy Florida, Inc. was an
“employer” subject to the requirements of the FLSA.

13. During the Liability Period, Plaintiff and similarly situated employees were
employees of Defendant Duke Energy Florida, Inc. within the meaning of FLSA.

14. During the Liability Period, Defendant Duke Energy Florida, Inc. was an
employer of Plaintiff and similarly situated employees within the meaning of the FLSA.

n 15. During the Liability Period, Defendant Richard Bams was the owner, operator,
executive, and/or manger of Defendant Allied Staff Augmentation Parmers, Inc., controlled
Defendant Allied Stati` Augmentation Partners, Inc. day-to-day operations and/or exercised direct
or indirect control over Plaintiff and similarly situated employees, and is responsible for the
illegal pay practices alleged herein.

16. During the Liability Period, Defendant Richard Bams was an “employer” subject
to the requirements of the FLSA.

17. During the Liability Period, Plaintiff and similarly situated employees were
employees of Defendant Richard Bams within the meaning of FLSA.

18. During the Liability Period, Defendant Richard Bams was an employer of
Plaintiff and similarly situated employees within the meaning of the FLSA.

19. During the Liability Period, Defendant Lynn Good was the owner, operator,

executive, and/or manger of Defendant Duke Energy Florida, Inc., controlled Defendant Duke

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Energy Florida, Inc. day-to-day operations and/or exercised direct or indirect control over
Plaintiff and similarly situated employees, and is responsible for the illegal pay practices alleged
herein.

20. During the Liability Period, Defendant Lynn Good was an “employer” subject to
the requirements of the FLSA.

21. During the Liability Period, Plaintiff and similarly situated employees were
employees of Defendant Lynn Good within the meaning of FLSA.

22. During the Liability Period,l Defendant Lynn Good was an employer of Plaintiff
and similarly situated employees within the meaning of the FLSA.

23. During the Liability Period, Defendant Jennifer Weber was the owner, operator,
executive, and/or manger of Defendant Duke Energy Florida, Inc., controlled Defendant Duke
Energy Florida, Inc. day-to-day operations and/or exercised direct or indirect control over
Plaintiff and similarly situated employees, and is responsible for the illegal pay practices alleged
herein.

24. During the Liability Period, Defendant Jennifer Weber was an “employer” subject
to the requirements of the FLSA.

25. During the Liability Period, Plaintiff and similarly situated employees were
employees of Defendant jenniferWeber within the meaning of FLSA.

26. During the Liability Period, Defendant Jennifer Weber was an employer of
Plaintiff and similarly situated employees within the meaning of the FLSA.

GENERAL ALLEGATIONS
27. Plaintiff is a former employee of Employer who worked for them from

approximately January 2012 to April 2014.

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28. Plaintiff and similarly situated employees were paid on an hourly basis.

29. The duties of Plaintiff and similarly situated employees were such that they did
not satisfy the requirements of any of the exemptions set forth in the FLSA.

30. Plaintiff and similarly situated employees regularly worked in excess of forty (40)
hours a workweek for Employer.

31. Despite regularly working in excess of forty (40) hours a workweek, Plaintifi` and
similarly situated employees were prevented from reporting all or part of their overtime hours on
their time records.

32. Plaintiff and similarly situated employees were not paid time and a half their
regular rates of pay for the overtime hours they worked

33. Employer, through their managerial employees, had knowledge that Plaintiff and
similarly situated employees were working over forty (40) hours a workweek and were not
receiving overtime compensation as required by the FLSA.

34. Employer did not make, keep, or preserve accurate records of the hours that
Plaintiti` and similarly situated employees worked as required by the FLSA.

35. Plaintiti` has retained the services of the undersigned attorneys and is obligated to
pay her legal counsel a reasonable fee for their services.

36. Plaintiff demands a trial by jury on all issues so triable

COUNT l
(Violations of the FLSA Overtime Provisions as Against All Defendants)

37. PlaintiH` realleges paragraphs l through 36, above.
38. Employer’s failure to pay PlaintiH` and similarly situated employees wages and/or

overtime compensation for hours worked over forty (40) in any workweek constitutes a violation

of the FLSA.

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39. Because of the above, Plaintiff and similarly situated employees has suffered
damages.
40. Employer’s violations of the FLSA were willful.

WHEREFORE, Plaintiff demands judgment against Employer for the following:

a. damages in the amount of the unpaid wages and/or overtime compensation
owed to them,

b. liquidated damages pursuant to the FLSA,

c. prejudgment interest,

d. reasonable attomeys’ fees and costs pursuant to the FLSA, and

e. all such other relief as the Court deemsjust, equitable, and appropriate.

M_DEM
Plaintiff demands a jury trial on all issues so triable.

Dated May 13, 2014.

Respectfully submitted,

JOHN BALES A'I'I`ORNEYS

giohael Schuette n

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